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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

HUDSON PRIVATE LP,

Plaintiff, 22 Civ. 5520 (PAE)
“Y=
ORDER
CREATIVE WEALTH MEDIA FINANCE CORP.,

Defendant.

PAUL A. ENGELMAYER, District Judge:

On October 27, 2022, the Court adjourned an initial conference in this matter to allow
defendant Creative Wealth Media Finance Corp. (“Creative Wealth”) to file a motion for
consolidation, and to give plaintiff Hudson Private LP (“Hudson Private”) time to oppose that
motion, if it wished. See Dkt, 31.

On November 1, 2022, Creative Wealth moved to consolidate this tnatter with a matter
in this same District before the Hon. Cathy Seibel, Hudson Private LP v. Bron Studios USA, Inc.
et al., 21 Civ. 08259 (CS), See Dkts. 32, 33, 34, 35. On November 3, 2022, Hudson Private
opposed the motion. See Dkts. 36, 37.

On November 2, 2022, after Creative Wealth moved but before Hudson Private opposed,
the Court was notified via ECF that Judge Seibel—responding to a statement of relatedness from
Creative Wealth filed at case opening in July 2022-—-had declined to accept the case as related.

This Court defers to Judge Seibel’s assessment. Accordingly, Creative Wealth’s motion
for consolidation is denied. The Clerk of Court is respectfully directed to close the pending
motion at Docket 32. The initial pretrial conference scheduled for November 18, 2022, at 4 p.m.,

will go forward as scheduled.
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SO ORDERED.

PAUL A. ENGELMAWER @
United States District Judge
Dated: November 10, 2022

New York, New York
